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                              Case No. 23-1410
                                      In the

             United States Court of Appeals
                                      for the

                             Tenth Circuit

                            LIBERTY GLOBAL, INC.,
                               Petitioner-Appellant,

                                         v.

                                UNITED STATES,
                               Respondent-Appellee.

               Appeal from a Decision of the United States District
                        Court for the District of Colorado
          Case No. 1:20-cv-03501-RBJ  Honorable R. Brooke Jackson
                           BRIEF OF THE
      AMERICAN FOREST & PAPER ASSOCIATION AS AMICUS CURIAE
        IN SUPPORT OF PETITIONER-APPELLANT AND REVERSAL
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                   CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, amicus

 curiae certifies as follows:

       Amicus has no parent corporations, is not a publicly held corporation, and no

 publicly held corporation owns ten percent or more of the organizational stock of

 any amicus party.




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             IDENTITY AND INTERESTS OF AMICUS CURIAE1

       The American Forest & Paper Association (“AF&PA”) serves to advance a

 sustainable U.S. pulp, paper, packaging, tissue, and wood products manufacturing

 industry through fact-based public policy and marketplace advocacy. AF&PA

 member companies make products essential for everyday life from renewable and

 recyclable resources and are committed to continuous improvement through the

 industry’s sustainability initiative, Better Practices, Better Planet 2020. The forest

 products industry accounts for approximately four percent of total U.S.

 manufacturing GDP, manufactures over $200 billion in products annually, and

 employs approximately 900,000 people.

       Amicus files this brief with a straightforward objective: Regardless of whether

 the Court affirms or reverses the decision below on other grounds or other

 case-specific evidence, it should take care that its opinion confirms the clear intent

 of Congress by (1) applying the economic substance doctrine only to transactions to

 which the doctrine is “relevant” and (2) defining relevance consistent with

 pre-enactment caselaw, which holds that the economic substance doctrine is not

 applicable to (i.e., is not relevant to) the interpretation of an Internal Revenue Code




 1
   No party or counsel for a party authored this brief, in whole or in part. No one
 other than amicus, its members, or its counsel made a monetary contribution to
 preparing or submitting this brief.


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 provision, unless the provision implicitly or explicitly requires the taxpayer to have

 a substantial nontax business purpose and the transaction results in a meaningful

 nontax change in economic position. This definition of relevance per se precludes

 the application of the economic substance doctrine to certain basic business

 transactions where the choice between meaningful economic alternatives is largely

 or entirely based on comparative tax advantages, or to transactions that take

 advantage of specific incentive provisions enacted by Congress.

       American businesses are routinely called upon to make choices regarding how

 they structure their enterprises and conduct transactions. Nearly all these decisions

 have tax implications. But not all these decisions should require an economic

 substance analysis, as the Supreme Court has long held. Consider the following

 examples:

           Two unrelated companies form a limited liability company (“LLC”) to

              conduct a new joint venture and elect to treat the LLC as a partnership

              for tax purposes, rather than as a corporation, for no reason other than

              to avoid entity-level tax on the LLC’s income.

           A company forms a corporation and capitalizes the corporation 50

              percent with debt and 50 percent with equity instead of 100 percent with

              equity, solely to take advantage of the tax deductibility of interest on

              debt.


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            A corporation chooses to sell appreciated property to recognize a gain

              in the current tax year because the gain can be offset by a loss

              carryforward that will expire at the end of the current tax year.

            A company invests in a project to produce electricity from wind

              turbines that is not forecast to produce a pre-tax profit solely because

              the income tax credit provided by 26 U.S.C. § 48 results in an after-tax

              profit.

            A company that has positive income tax liability purchases solar tax

              credits pursuant to 26 U.S.C. § 6418 from a second company that has

              generated the tax credits but has a taxable loss from its operations for

              the sole purpose of reducing the purchasing company’s federal income

              tax liability.

       The foregoing are common, everyday transactions taxpayers have conducted

 with no doubt about their tax consequences before the lower court’s decision in this

 case. That decision ignores the reality that the Internal Revenue Code is replete with

 provisions that permit or even encourage taxpayers to engage in, or select the form

 of, a transaction for no reason other than its tax consequences. In enacting these

 provisions Congress has made a deliberate legislative choice to provide

 predictability and certainty in the taxation of routine transactions and to incentivize

 certain behavior through the Internal Revenue Code.


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        The district court ruled that the application of each and every provision of the

  Internal Revenue Code is available to a taxpayer only if a transaction triggering that

  provision has both a nontax business purpose and meaningful nontax economic

  consequences. If left to stand, the lower court’s opinion will cast doubt and

  uncertainty over the taxation of numerous ordinary course transactions and those

  that take advantage of tax incentives bestowed by Congress. By ruling that there is

  no threshold determination under section 7701(o) as to whether the economic

  substance doctrine is “relevant,” the lower court’s decision opens the door to the IRS

  arguing that the doctrine applies in every case. If the taxpayer’s chosen path were

  solely based on tax considerations—even those clearly contemplated by the

  statute—the IRS would claim the superpower to override Congress’ will by asserting

  a lack of economic substance.

        The outcome of these issues is of immediate and serious concern to the forest

  products industry, which relies on predictable and uniform application of the tax

  laws to ordinary course business transactions and transactions undertaken in reliance

  on the availability of statutory tax incentives. These everyday transactions range

  from selecting the form of entity for a new company to investing in innovative

  technologies and sustainability measures.




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       BACKGROUND OF THE ECONOMIC SUBSTANCE DOCTRINE

        Many courts and commentators trace the origins of the economic substance

  doctrine to Gregory v. Helvering, 293 U.S. 465 (1935). In that case, Gregory

  engaged in a transaction that in form met the requirements of a “reorganization”

  without the intent to continue the underlying business that was “reorganized.” The

  central inquiry was “whether what was done, apart from tax motive, was the thing

  which the statute intended.” Gregory, 293 U.S. at 469 (emphasis added). The Court

  concluded that Congress did not intend for transactions like Gregory’s to be treated

  as a “reorganization” under the relevant statute. Eventually, this holding became the

  “economic substance doctrine.” In the decades that followed Gregory, related

  doctrines developed, and different circuits applied varying approaches and

  formulated varying tests for applying these doctrines.

        Gregory and its progeny, of course, do not give courts power to disregard

  policy choices made by Congress when it implements those choices in the provisions

  of the Internal Revenue Code. Cf. U.S. CONSTITUTION, art. I, § 1 (“All legislative

  Powers herein granted shall be vested in a Congress of the Unites States ….”), § 6

  (“The Congress shall have Power To lay and collect Taxes….”) with art. III, § 2

  (“The judicial Power shall extend to all Cases, in Law and Equity, arising under this

  Constitution, the Laws of the United States….”); see also Gitlitz v. Comm’r, 531

  U.S. 206, 219-20 (2001) (rejecting decisions by Courts of Appeals that ignored



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  statutory text in part because of policy concerns that taxpayers would receive a

  “double windfall” if the literal terms of the Internal Revenue Code were followed).

  At its core, the economic substance doctrine is a tool of statutory construction used

  by courts to interpret certain statutes written by Congress. E.g., Coltec Indus., Inc.

  v. United States, 454 F.3d 1340, 1353 (Fed. Cir. 2006) (“the economic substance

  doctrine is not unlike other canons of construction that are employed in

  circumstances where the literal terms of a statute can undermine the ultimate purpose

  of the statute”); Jonathan H. Choi, The Substantive Canons of Tax Law, 72 STAN. L.

  REV. 195 (Feb. 2020).

        To clarify how the economic substance doctrine should apply, Congress added

  section 7701(o) – titled “Clarification of the Economic Substance Doctrine” – to the

  Internal Revenue Code (26 U.S.C.) in 2010.             Health Care and Education

  Reconciliation Act of 2010, Pub. L. No. 111-152, 124 Stat. 1029 (Mar. 30, 2010).

  Although section 7701(o) clarified the answers to some questions about the common

  law economic substance doctrine, it left others unresolved. See American Bar

  Association Tax Section Letter to IRS Commissioner Shulman, Comments on IRS

  Notice 2010-62 at 2 (Jan. 18, 2011) (the “ABA Comment Letter”).

        More than a decade has passed since Congress enacted 26 U.S.C. § 7701(o),

  but this case presents the first important consideration of issues posed by Congress’s

  clarification of the economic substance doctrine—the issue of when the economic



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  substance doctrine is “relevant.” See 26 U.S.C. § 7701(o)(1). Although the statute

  on its face recognizes that there are situations in which the economic substance

  doctrine is not relevant, no court case decided prior to the enactment of 26 U.S.C.

  § 7701(o) used the term “relevant” in analyzing whether to apply the economic

  substance doctrine in a particular case. See ABA Comment Letter at 9.

        This Court does not write on a blank slate, however. While the caselaw pre-

  dating Congress’s clarification of the economic substance doctrine does not use the

  term “relevant,” a careful reading of those authorities provides guidelines to

  determine when it is appropriate to use the doctrine to interpret a statute, while

  providing taxpayers with the quantum of predictability in application of the tax laws

  Congress intended.

        Because the economic substance doctrine is notoriously difficult to apply and

  now includes a 40 percent strict liability penalty,2 a predictable standard for

  determining when economic substance is relevant is absolutely critical.3


  2
    A 40 percent strict liability penalty (reduced to 20 percent if certain disclosures are
  made) applies to an underpayment of income tax resulting from “Any disallowance
  of claimed tax benefits by reason of a transaction lacking economic substance
  (within the meaning of section 7701(o)) or failing to meet the requirements of any
  similar rule of law.” 26 U.S.C. §§ 6662(b)(6) (imposing penalty), 6662(i)
  (increasing penalty to 40 percent for undisclosed transactions), 6664(c) (providing
  no reasonable cause defense available for penalties imposed under
  section 6662(b)(6)).
  3
    At one point, the Chief Counsel of the IRS publicly acknowledged that “the
  economic substance doctrine should be used only rarely and judiciously” and should

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        As discussed below, the economic substance doctrine is not applicable (i.e.,

  is not relevant) to the interpretation of an Internal Revenue Code provision, unless

  the provision implicitly or explicitly requires the taxpayer to have a substantial

  nontax business purpose and the transaction results in a meaningful nontax change

  in economic position. This relevance standard, when properly applied, will exclude

  basic business transactions where the choice between meaningful economic

  alternatives is largely or entirely based on comparative tax advantages, as well as

  transactions undertaken in reliance on the availability of tax incentives provided by

  Congress. This result is consistent with the language of section 7701(o), the

  statutory context, and the legislative history and allows taxpayers to plan their affairs

  with reasonable predictability.

                                      ARGUMENT

        One of the underlying tenets of the tax law is that taxpayers may plan

  transactions in reliance on the laws Congress has written. In promulgating section

  7701(o), Congress acknowledged as much:

        The [Internal Revenue] Code provides detailed rules specifying the
        computation of taxable income, including the amount, timing, source,
        and character of items of income, gain, loss, and deduction. These rules


  not be used to challenge tax benefits that the IRS “views as unintended or just
  because we do not like the transactions.” ABA Comment Letter at 11 n.34 (citing
  Donald L. Korb, Remarks at the 2005 University of Southern California Tax
  Institute: The Economic Substance Doctrine in the Current Tax Shelter Environment
  (Jan. 25, 2005)).


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        permit both taxpayers and the government to compute taxable income
        with reasonable accuracy and predictability. Taxpayers generally may
        plan their transactions in reliance on these rules to determine the federal
        income tax consequences arising from the transactions.

  H.R. Rep. No. 111-443 at 291 (2010) (“House Report”). In drafting section 7701(o),

  Congress was mindful that its clarification of the economic substance doctrine as a

  canon of statutory construction did not abrogate the need for predictability in tax

  matters and was careful to provide that the doctrine is not relevant to all transactions.

        As pertinent to the question raised here by amicus, the statute provides as

  follows: “(o) Clarification of economic substance doctrine. (1) Application of

  doctrine. In the case of any transaction to which the economic substance doctrine

  is relevant, such transaction shall be treated as having economic substance only if”

  a two-factor test is met. 26 U.S.C. § 7701(o)(1) (emphasis added). The statute goes

  on to provide “[t]he determination of whether the economic substance doctrine is

  relevant to a transaction shall be made in the same manner as if this subsection had

  never been enacted.” 26 U.S.C. § 7701(o)(5)(C).

        The issue here is whether the phrase “[i]n the case of any transaction to which

  the economic substance doctrine is relevant” has any meaning, or whether – as the

  district court concluded – it is mere surplusage. As discussed below, Congress said

  exactly what it meant: the economic substance doctrine is not relevant to all

  transactions. See Section I below. The statute is unambiguous, the legislative

  history is clear, and the language clarifies longstanding principles underlying


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  interpretation of the Internal Revenue Code. From these authorities, it is clear that

  the economic substance doctrine is not applicable (i.e., is not relevant) to the

  interpretation of an Internal Revenue Code provision, unless the provision implicitly

  or explicitly requires the taxpayer to have a substantial nontax business purpose and

  the transaction results in a meaningful nontax change in economic position See

  Section II.A below. This means that the economic substance doctrine is not relevant

  to certain basic business transactions that under longstanding judicial and

  administrative practice are respected merely because the choice between meaningful

  economic alternatives is largely or entirely based on comparative tax advantages or

  to transactions that Congress seeks to incentivize through specified tax benefits. See

  Section II.B below.

  I.    CONGRESS CONFIRMED THAT THE ECONOMIC SUBSTANCE DOCTRINE ONLY
        APPLIES WHEN IT IS “RELEVANT.”

        After years of uncertainty concerning the precise contours of the economic

  substance doctrine as formulated by various federal courts, Congress stepped in to

  clarify the elements of the doctrine in cases where it was applicable. The resulting

  statute, 26 U.S.C. § 7701(o), is subtitled “Clarification of Economic Substance

  Doctrine.”

        By enacting section 7701(o), Congress did not dictate application of the

  economic substance doctrine to every Internal Revenue Code provision and

  transaction. Rather, as applicable to the question raised here by amicus, the statute


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  provides as follows: “Application of doctrine. In the case of any transaction to

  which the economic substance doctrine is relevant, such transaction shall be treated

  as having economic substance only if” two tests evaluating the economic substance

  of the transaction are satisfied. 26 U.S.C. § 7701(o)(1) (emphasis added). This

  two-part test evaluates whether a transaction has economic substance. The statute

  goes on to provide “Determination of application of doctrine not affected. The

  determination of whether the economic substance doctrine is relevant to a

  transaction shall be made in the same manner as if this subsection had never been

  enacted.” 26 U.S.C. § 7701(o)(5)(C) (emphasis added).

        The district court failed to follow the plain meaning of the words Congress

  chose, well-established canons of statutory interpretation, and decades of caselaw

  and scholarly commentary. In doing so, the lower court reads the “relevance”

  requirement out of the statute and instead engages in self-acknowledged circular

  reasoning to hold that the economic substance doctrine is relevant when a transaction

  lacks economic substance, stating:

        At the risk of tautology, I proceed with the conclusion that the economic
        substance doctrine applies when a transaction lacks economic
        substance. The question of whether the doctrine lacks economic
        substance is equivalent to the question of whether the tax benefits
        achieved in the transaction violate congressional intent and is analyzed
        using the enumerated statutory prongs — which are in turn elaborated
        and informed by the “red flags” that courts have long described …
        There is no “threshold” inquiry separate from the statutory factors.




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  Order on Cross-Motions for Summ. J., Dist. Ct. Doc. 87 (Oct. 31, 2023), App. Vol.

  2 at 288-89 (internal citations omitted).

        The statute commands, however, that a threshold determination be made as to

  whether the economic substance doctrine is relevant. The words of section 7701(o)

  are susceptible to only one reading.

        The first place to begin the interpretation of the statute of course is “with the

  statutory text.” BNSF Ry. Co. v. Loos, 139 S. Ct. 893, 899 (2019); Jewell v. United

  States, 749 F.3d 1295, 1298 (10th Cir. 2014) (interpreting Internal Revenue Code

  and stating “[W]e begin with the statutory language. If the plain language of the

  statute is clear, our inquiry ordinarily ends.”). Here, the statutory text requires a

  determination of relevance and provides instructions on how that determination is to

  be made. It specifically states that “[t]he determination of whether the economic

  substance doctrine is relevant to a transaction shall be made ….”          26 U.S.C.

  § 7701(o)(5)(C) (emphasis added).

        The meaning of “shall” is clear. As this Court has held repeatedly, “shall”

  “indicates a mandatory intent.” Jewell , 749 F.3d at 1298; see also United States v.

  Myers, 106 F.3d 936, 941 (10th Cir. 1997) (“It is a basic canon of statutory

  construction that use of the word ‘shall’ indicates a mandatory intent.”); Forest

  Guardians v. Babbitt, 174 F.3d 1178, 1187 (10th Cir. 1999) (“The Supreme Court




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  and this circuit have made clear that when a statute uses the word ‘shall,’ Congress

  has imposed a mandatory duty upon the subject of the command.”).

        The district court’s reading of section 7701(o) fails to accord separate

  meaning to the express and repeated use of the term “relevant” in the statute. It is

  well established that under the canon against superfluity courts “give effect to every

  clause and word of a statute.” Polselli v. Internal Revenue Serv., 598 U.S. 432, 441

  (2023) (internal punctuation and citations omitted). See Antonin Scalia & Bryan A.

  Garner, Reading Law: The Interpretation of Legal Texts 177 (2012) (“Because legal

  drafters should not include words that have no effect, courts avoid a reading that

  renders some words altogether redundant.”). Congress could have decreed that the

  economic substance doctrine applies to all transactions. It did not. “[C]ourts must

  presume that a legislature says in a statute what it means and means in a statute what

  it says there.” Conn. Nat’l Bank v. Germain, 503 U.S. 249, 253-54 (1992). Here,

  Congress dictates that the doctrine is applied only when it is relevant.

        The legislative history is consistent with the plain language of the statute as

  well as its role in the context of the detailed and complex statutory scheme that is

  our Internal Revenue Code. The House Report states that the economic substance

  analysis in section 7701(o) applies only “in the case of any transaction to which the

  economic substance doctrine is relevant” and that “[t]he determination of whether

  the economic substance doctrine is relevant to a transaction shall be made in the



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  same manner as if the provision had never been enacted.” House Report at 295. The

  report goes on to confirm that “the provision does not change current law standards

  in determining when to utilize an economic substance analysis.” House Report at

  295-96. The General Explanation of Tax Legislation by the Staff of the Joint

  Committee on Taxation (often referred to as the “Bluebook”) is consistent with the

  House Report. See Joint Comm. on Tax’n, General Explanation of Tax Legislation

  Enacted in the 111th Congress (JCS-2-11) at 378 (Mar. 2011); see also Joint Comm.

  on Tax’n, Technical Explanation of the Revenue Provisions of the “Reconciliation

  Act of 2010,” as amended in Combination with the “Patient Protection and

  Affordable Care Act,” (JCX-18-10) at 152 (Mar. 21, 2010) (“JCT Technical

  Explanation”).

        The lower court erroneously relied on this Court’s decision in Blum v.

  Commissioner, 737 F.3d 1303 (10th Cir. 2013), to conclude that there is no relevance

  requirement, despite the plain language of the statute. Order on Cross-Motions for

  Summ. J., Dist. Ct. Doc. 87 (Oct. 31, 2023), App. Vol. 2 at 288. That case, however,

  involved a widely-marketed tax shelter that already had been the subject of litigation

  in multiple courts. 737 F.3d at 1308-09. The Court and the parties did not consider

  the question of whether the economic substance doctrine was relevant – it was

  obvious in the context of the well-established fact pattern that the tax result was not




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  intended by Congress. Blum does not establish a rule that the economic substance

  doctrine is always relevant when a transaction lacks economic substance.

        Accordingly, amicus respectfully requests that the Court hold that it must first

  be determined whether the economic substance doctrine is relevant to interpretation

  of the particular Internal Revenue Code section to be construed and, only if the

  doctrine is relevant, then to apply the two-factor analysis found in section

  7701(o)(1)(A)-(B).4




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    Notably, the district court did not even attempt to construe 26 U.S.C. § 351(b), the
  operative statute. Rather, the court began where it wanted to end, with the
  disallowance of the taxpayer’s claimed tax treatment. However, “the focus must be
  a purposive reading of the particular portion of the [Internal Revenue] Code in
  question and not the merits of the transaction in the abstract or the protection of the
  Code’s integrity as a whole.” James S. Halpern, Putting the Cart before the Horse:
  Determining Economic Substance Independent of the Language of the Code, 30 VA.
  TAX REV. 327, 332 (2010). See also Joseph T. Henderson, Liberty Global Economic
  Substance Analysis Merits a Reversal, 181 TAX NOTES 1833, 1835 (Dec. 4, 2023)
  (“When the government wishes the code said something it doesn’t say, as in this
  case, it often attempts to supplant the rule in the code or the regulations with a ‘more
  logical’ outcome. It generally fails at this, as it should have in Liberty Global.”).


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  II.   THE ECONOMIC SUBSTANCE DOCTRINE IS A CANON OF STATUTORY
        INTERPRETATION THAT IS RELEVANT TO THE CONSTRUCTION OF
        PROVISIONS OF THE INTERNAL REVENUE CODE ONLY WHEN THE
        LANGUAGE OF THE PARTICULAR PROVISION INCORPORATES AN ECONOMIC
        SUBSTANCE CONCEPT, EITHER IMPLICITLY OR EXPLICITLY. IT CANNOT
        APPLY TO CERTAIN BASIC BUSINESS TRANSACTIONS OR TO TAX INCENTIVE
        PROVISIONS.

        The statute does not define “relevant,” but it provides instructions on how the

  determination of relevance shall be made: “in the same manner as if this subsection

  had never been enacted”. 26 U.S.C. § 7701(o)(5)(C). That means this Court should

  look to caselaw before enactment of section 7701(o) to discern when the economic

  substance doctrine is relevant. Pre-enactment caselaw, as discussed below, holds

  that economic substance is relevant only when the language of the Internal Revenue

  Code provision to be interpreted incorporates an economic substance concept. See

  Section II.A below.

        From this, we can derive two clear instances in which the economic substance

  doctrine will not be relevant: first, basic business transactions where the choice

  between meaningful economic alternatives is largely or entirely based on

  comparative tax advantages and second, transactions undertaken to take advantage

  of specific tax incentives provided by Congress. See Section II.B below.




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        A.     The Relevance Standard Can Be Derived from Pre-enactment
               Supreme Court Jurisprudence, Which Uniformly Holds That the
               Economic Substance Doctrine Applies Only if the Statute To Be
               Interpreted Implicitly or Explicitly Requires Economic Substance.

        Pre-enactment caselaw does not use the term relevance; however, courts

  historically have recognized that the economic substance doctrine is not applicable

  to (i.e., is not relevant to) the interpretation of an Internal Revenue Code provision,

  unless the provision implicitly or explicitly requires the taxpayer to have a

  substantial nontax business purpose and the transaction results in a meaningful

  nontax change in economic position. See, e.g., ACM P’ship v. Comm’r, 73 T.C.M.

  (CCH) 2189 at 2215 (1997) (“The [economic substance] doctrine becomes

  applicable, and a judicial remedy is warranted, where a taxpayer seeks to claim tax

  benefits, unintended by Congress, by means of transactions that serve no economic

  purpose other than tax savings.”), aff’d in part 157 F.3d 231 (3d Cir. 1998).

        This test for relevance is consistent with the operation of the economic

  substance doctrine as a canon of statutory construction. Jonathan H. Choi, The

  Substantive Canons of Tax Law, 72 STAN. L. REV. 195, 210 (Feb. 2020) (“Canons

  of construction are rules that guide courts in the interpretation of statutes.”). It looks

  to the words of the statute as drafted by Congress (or other evidence of intent if not

  apparent from the text of the statute) and the proposed result and asks whether those

  are consistent. This test provides courts with flexibility to use the economic

  substance doctrine to ensure results that are consistent with congressional intent, but


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  also provides the executive branch and taxpayers with sufficient predictability on

  when the doctrine will or will not apply.

        Application of the economic substance doctrine as a canon of statutory

  interpretation is consistent with decades of Supreme Court jurisprudence. While

  much has been written about the two-page Gregory opinion, the relevant principle

  here is that the Court found that the specific Internal Revenue Code provision it was

  interpreting required a nontax business purpose. As the Court wrote, the transaction

  was not a “reorganization” because the transaction “upon its face lies outside the

  plain intent of the statute. To hold otherwise would … deprive the statutory

  provision in question of all serious purpose.” Gregory, 293 U.S. at 470.

        The Supreme Court has consistently applied this approach. In Knetsch v.

  United States, 364 U.S. 361 (1960), the Court set aside the lower court’s conclusion

  that tax motive was important and reiterated that the “question for determination is

  whether what was done, apart from the tax motive, was the thing which the statute

  intended ….” 364 U.S. at 365 (quoting Gregory, 293 U.S. at 469). The tax question

  in Knetsch was whether certain amounts were deductible interest on “indebtedness”

  within the meaning of 26 U.S.C. § 163(a) and its predecessor provision under the

  1939 Internal Revenue Code. The Court relied on the statutory language, which it

  interpreted to require economically substantive indebtedness.




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        The Court continued to focus on statutory intent in United States v. Consumer

  Life Insurance Company, 430 U.S. 725 (1977). In that case, the government urged

  the Court to read what amounted to an economic substance requirement (“reserves

  follow the risk” rule) into the relevant Internal Revenue Code provision. The Court

  rejected the argument: “There is no suggestion [of a “reserves follow the risk” rule]

  in the plain language of the section … [i]f anything, the language is a substantial

  obstacle to accepting the Government’s position. The word ‘risk’ does not occur.”

  430 U.S. at 740. The fundamental lesson from Consumer Life is that the Court

  focused on Congress’s intent. Economic substance was not relevant to interpreting

  the statute and the Court declined to superimpose an economic substance

  requirement.

        There are, of course, times when the economic substance doctrine is relevant

  because Congress embeds the concept into a provision of the Internal Revenue Code,

  as reflected in Frank Lyon Co. v. United States, 435 U.S. 561 (1978). In that case,

  the Court considered whether Lyon was the owner of property and, therefore,

  entitled to depreciation deductions. Lyon held legal title to the property pursuant to

  a sale-leaseback agreement. After examining the rights of the seller-lessee, the Court

  concluded that the economic substance of the arrangement was that Lyon was the

  owner for tax purposes. A careful reading of the Court’s analysis shows that the

  crux of the decision was that economic substance was part of the ownership test



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  under 26 U.S.C. § 167, the pertinent statute. See Nebraska Dept. of Rev. v.

  Loewenstein, 513 U.S. 123, 133-34 (1994) (recognizing that Frank Lyon turned on

  the concept of ownership under the statute). As such, the court applied the economic

  substance doctrine to interpret the operative statute; the doctrine did not operate as

  a free-floating override to a tax favorable result.

        The Supreme Court’s decision in Cottage Savings Association v.

  Commissioner provides further support that the economic substance doctrine is a

  canon of statutory construction that applies only when the statute to be interpreted

  requires economic substance. 499 U.S. 554 (1991). The Court considered whether

  an exchange of interests in a certain group of loans for an interest in a different group

  of legally different but economically-equivalent loans was a “sale or other

  disposition” for purposes of determining whether a loss was realized in a particular

  tax year. The only purpose for the exchange was to trigger a tax loss. The IRS

  argued that the exchange was a “disposition” only if the properties exchanged were

  “materially different.” The Court agreed that there was a “material difference”

  requirement under a regulation promulgated by the Treasury Department; however,

  the Court concluded that “what constitutes a ‘material difference’ for purposes of

  § 1001(a) of the [Internal Revenue] Code is a more complicated question.” 499 U.S.

  at 562 .




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        The IRS argued in Cottage Savings that “material difference” contemplated

  an economic substance analysis. 499 U.S. at 562 (“The Commissioner argues that

  properties are ‘materially different’ only if they differ in economic substance.”). The

  Court rejected that argument. In doing so, the Court looked to the pre-enactment

  caselaw from which the “material difference” standard was derived and that the

  Court “believe[d] Congress intended to codify in enacting and reenacting the

  language that now comprises § 1001(a).” 499 U.S. at 563. In other words, the Court

  looked to Congress’s intent to determine whether an economic substance analysis

  was required to interpret the statute.

        When read together, these cases establish that the law before enactment of

  section 7701(o) was that the economic substance doctrine is relevant to the

  interpretation of a particular provision of the Internal Revenue Code only when the

  language of such provision incorporates an economic substance concept, either

  implicitly or explicitly. Through enactment of section 7701(o)(5)(C), Congress

  requires relevance to be determined in accordance with these cases.

        Accordingly, amicus respectfully requests that the Court hold that the

  economic substance doctrine is a canon of statutory interpretation that is “relevant”

  only when the language of the Internal Revenue Code provision to be interpreted

  incorporates an economic substance concept.




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        B.     The Economic Substance Doctrine Is Per Se Not Relevant to
               Transactions Where the Choice Between Meaningful Economic
               Alternatives Is Based on Comparative Tax Advantages or to
               Transactions Undertaken to Take Advantage of Specific Tax
               Incentives Provided by Congress.

        Because the economic substance doctrine is relevant only when the provision

  to be interpreted incorporates an economic substance concept, we can derive two

  clear instances in which the economic substance doctrine will not be relevant: first,

  to basic business transactions where the choice between meaningful economic

  alternatives is largely or entirely based on comparative tax advantages and second,

  to transactions undertaken to take advantage of specific tax incentives provided by

  Congress.

        The House Report provides a clear articulation of the applicable standard. It

  says that section 7701(o) “is not intended to alter the tax treatment of certain basic

  business transactions that [should be] … respected … because the choice between

  meaningful economic alternatives is largely or entirely based on comparative tax

  advantages.” House Report at 296; see also JCT Technical Explanation at 152.

  There are numerous such examples. Among those referenced in the JCT Technical

  Explanation are:

              The choice between capitalizing a business enterprise with debt or

               equity;




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            A U.S. person’s choice between utilizing a foreign corporation or a

               domestic corporation to make a foreign investment; and

            The choice to enter into a transaction or a series of transactions that

               constitute a corporate reorganization under subchapter C of the Internal

               Revenue Code.

  See JCT Technical Explanation at 152.          Other examples of “basic business

  transactions” where the “choice between meaningful economic alternatives is

  largely or entirely based on comparative tax advantages” include so-called “check-

  the-box elections” pursuant to which taxpayers select an entity’s status for tax

  purposes (26 C.F.R. § 301.7701-1) and timing a transaction to recognize gain or loss

  at a time when it is most tax advantageous.         The common element of these

  transactions that makes an economic substance analysis irrelevant is that the Internal

  Revenue Code provisions triggered by these transactions do not contain an economic

  substance requirement because the choice between meaningful economic

  alternatives is largely or entirely based on comparative tax advantages.

        The second category of transactions to which the economic substance doctrine

  is de facto irrelevant are transactions undertaken to take advantage of tax incentive

  provisions enacted by Congress. Congress uses the Internal Revenue Code for

  multiple purposes. “[T]he present federal income tax is replete with tax incentive

  provisions. Some were adopted to assist particular industries, business activities, or


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  financial transactions. Others were adopted to encourage nonbusiness activities

  considered socially useful, such as contributions to charity.” Stanley S. Surrey, Tax

  Incentives as a Device for Implementing Government Policy: A Comparison with

  Direct Government Expenditures, 83 HARV. L. REV. 705, 705 (1970).5

        In many instances the text or purpose of the statutory provision at issue

  affirmatively suggests that Congress intended for taxpayers to receive certain tax

  benefits without regard to economic substance. One obvious example is tax credits

  based on the production of certain forms of renewable energy (26 U.S.C. § 45).

  See also 26 U.S.C. § 48 (providing a tax credit for investing in certain renewable

  energy facilities). These are credits Congress provides to taxpayers to incentivize

  investment in clean energy.      Capital-intensive projects necessary to increase

  availability of clean energy supplies may not be economical without the benefit of

  these tax credits. Similarly, Congress uses other provisions to spur investment in

  other desired activities. See also, e.g., 26 U.S.C. §§ 42 (low-income housing



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    See also, e.g., Historic Boardwalk Hall, LLC v. Comm’r, 694 F.3d 425, 432 (3d
  Cir. 2012) (“In sum [26 U.S.C. § 47] was a deliberate decision to skew the neutrality
  of the tax system to encourage taxable entities to invest, both in form and substance,
  in historic rehabilitation projects”); Investing in Qualified Opportunity Funds, 84
  Fed. Reg. 18,652, 18,652 (May 1, 2019) (“Sections 1400Z-1 and 1400Z-2 seek to
  encourage economic growth and investment in designated distressed communities
  (qualified opportunity zones) by providing Federal income tax benefits to taxpayers
  who invest new capital in businesses located within qualified opportunity zones
  through a QOF.”).


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  credits), 45D (new markets tax credit), 45Q (carbon capture credit); 45V (hydrogen

  production credit); 45Z (clean fuel production credit); 47 (rehabilitation credit).

  Application of the economic substance doctrine to such transactions would clearly

  subvert congressional intent to provide these tax benefits regardless of pretax

  economic considerations.

        Nothing makes this point more clearly than 26 U.S.C. § 6418. That provision

  allows one taxpayer to purchase certain specified “green energy” tax credits from

  another taxpayer. Such a transaction, by definition, has no nontax business purpose

  or nontax economic consequence to the purchaser. Under the district court’s ruling,

  the purchase would be subjected to, and fail, the two-pronged test for economic

  substance set out in section 7701(o), and the clear intent of Congress would be

  thwarted.

        Accordingly, amicus respectfully urges the Court to conclude that the

  economic substance doctrine is not relevant to either basic business transactions

  where the choice between meaningful economic alternatives is largely or entirely

  based on comparative tax advantages or transactions undertaken to take advantage

  of specific tax incentives provided by Congress.




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                                   CONCLUSION

        Amicus urges the Court to reverse the decision of the district court and hold

  that (1) section 7701(o) requires a determination that the economic substance

  doctrine is relevant before application of the two-factor test and (2) the economic

  substance doctrine is a canon of statutory interpretation that is relevant to the

  interpretation of provisions of the Internal Revenue Code only when the language of

  the particular provision incorporates an economic substance concept, either

  implicitly or explicitly. As such, the economic substance doctrine is not relevant to

  either basic business transactions where the choice between meaningful economic

  alternatives is largely or entirely based on comparative tax advantages or

  transactions undertaken to take advantage of specific tax incentives provided by

  Congress.

  Dated: May 7, 2024

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     CERTIFICATE OF COUNSEL REGARDING AUTHORITY TO FILE

        Pursuant to Federal Rule of Appellate Procedure 29(a)(2), amicus states that

  all parties have consented to the filing of this brief.



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                          CERTIFICATE OF COMPLIANCE

        This brief complies with the type-volume limitation of Rules 32(a)(7)(B) and

  29(a)(5) of the Federal Rules of Appellate Procedure because it contains 5,888

  words, excluding the parts of the brief exempted by Rule 32(f).

        This brief complies with the typeface requirements of Rule 32(a)(5) of the

  Federal Rules of Appellate Procedure and the type-style requirements of Rule

  32(a)(6) of the Federal Rules of Appellate Procedure because this brief has been

  prepared in a proportionally spaced typeface using 14-point Times New Roman font.


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                   CERTIFICATE OF DIGITAL SUBMISSION

  I hereby certify that with respect to the foregoing:

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        (2) if required to file additional hard copies, that the ECF submission is an

  exact copy of those documents;


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  most recent version of a commercial virus scanning program, SentinelOne, version

  23.2.3.358, last updated May 1, 2024, and according to the program are free of

  viruses.


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                            CERTIFICATE OF SERVICE

        I hereby certify that on May 7, 2024, I electronically filed the foregoing with

  the Clerk of the Court for the United States Court of Appeals for the Tenth Circuit

  by using the appellate CM/ECF system.

        I certify that all participants in the case are registered CM/ECF users and that

  service will be accomplished by the appellate CM/ECF system.


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